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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT


IN RE SYNCHRONY FINANCIAL
SECURITIES LITIGATION                           Civil Number 3:18cv01818 (VAB)



                                      JUDGMENT

       This matter having come on for consideration of the defendants’ motion to

dismiss Securities Class Action doc.#98, before the Honorable Victor A. Bolden, United

States District Judge; and the Court having considered the full record of the case

including applicable principles of law and granted the defendants’ motion with prejudice.

It is therefore;


       ORDERED, ADJUDGED, and DECREED that judgment enter in favor of the

defendants, Synchrony Financial, Margaret M. Keane, Brian D. Doubles, Thomas M.

Quindlen, David Melito, Paget Alves, Arthur Coviello, Jr., William Graylin, Roy Guthrie,

Richard Hartnack, Jeffrey Naylor, Laurel Richie, Olympia Snowe, Barclays Capital Inc.,

Mizuho Securities USA LLC, Morgan Stanley & Co. LLLC, TD Securities (USA) LLC,

Blaylock Van, LLC, Castleoak Securities, L.P., Mischler Financial Group, Inc., R.

Seelaus & Co., Inc., and The Williams Capital Group, L.P. and the case is closed.


       Dated at Bridgeport, Connecticut this 31st day of March, 2020.



                                                ROBIN D. TABORA, Clerk

                                                By:/s/_________
                                                Jazmin Perez
                                                Deputy Clerk
EOD:       3/31/2020
